Case 1:24-cv-00046-TC-DAO Document 8 Filed 06/03/24 PageID.549 Page 1 of 2




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                        THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION


TERESSA LANGSTON, individually and on
behalf of all others similarly situated,
                                               MOTION FOR PRO HAC VICE ADMISSION
                     Plaintiff,
                                               OF REBECCA HUGHES PARKER
 v.
                                               CASE NO: 1:24-cv-00046-DAO
DOTDASH MEDIA, INC. D/B/A
DOTDASH MEREDITH.

                   Defendant.



        I move for the pro hac vice admission of Rebecca Hughes Parker (Applicant) as counsel

 for Defendant Dotdash Media, Inc. d/b/a Dotdash Meredith (“Defendant”), and I consent to

 serve as local counsel. I am an active member of this court’s bar.

        The application and proposed order are attached as exhibits, and the admission fee will


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Case 1:24-cv-00046-TC-DAO Document 8 Filed 06/03/24 PageID.550 Page 2 of 2




 be paid to the court at the time of filing. I certify that I have verified with the Applicant that the

 information contained in her application is true and accurate.

                                               Respectfully submitted,


Dated: June 3, 2024                    By:     /s/ J. Mark Gibb

                                               J. Mark Gibb (5702)

                                               DENTONS DURHAM JONES PINEGAR PC

                                               Counsel for Defendant Dotdash Media, Inc. d/b/a
                                               Dotdash Meredith (“Defendant”)

                                        Certificate of Service

       I hereby certify that on this 3rd day of June, 2024, I caused the foregoing to be emailed to

counsel of record by CM/ECF.


                                               /s/ J. Mark Gibb




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